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LN THE UNITED sTATEs DISTRICT COURT 05 AUG 31 pH 3.
FOR THE WESTERN DISTRICT oF TENNESSEE ‘ 53
WESTERN DIVISION W"’@t§s$} .

D-C.

 

 

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 92-20_2£6

v.
MARVIN COLEMAN,

Defendant.

 

ORDER

 

Bet`ore the court are motions at Doeument Entry Nos. 104 and 105. ln those motions,
Defendant/Petitioner seeks leave to supplement and support his argument for relief regarding his
sentence and for review of the sentence imposed Document Entry No. 105 is a renewal of that
motion. For cause, Defendant’s motion is GRANTED and he is permitted to supplement his

arguments and authority in support of his motion for reduction of sentence

IT IS SO ORDERED this § f day of (Z¢T( said , 2005.

CE BOU[E DONALD
TED STA'I`ES DISTRICT IUDGE

 
 
     
   

 

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 107 in
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William B. Seligstein
WAGERMAN LAW FIRM
200 .1 efferson Avenue

Ste. 13 13

l\/lemphis7 TN 38103

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

